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Mark Shapiro, Trustee                Towards Infinity LLC                 James Locke, MD
of the Unsecured Creditor Trust      c/o RA Radheshyam Miryala            2457 Baycrest Dr.
3500 Maple Avenue, Suite 420         3017 S. Island Dr.                   Houston TX 77058
Dallas TX 75219                      Seabrook TX 77586

Michael D. Warner                    AB Physician Services, LLC           Megadodo LLC
Cole Scholtz P.C.                    c/o RA Antonio Bueso                 c/o RA Jason Gukhool
301 Commerce St, Suite 1700          750 Marlin Dr.                       4141 Lovers Lane
Fort Worth TX 76102                  Abilene TX 79602                     Dickinson TX 77539

Thomas Vo, aka Tom Vo                Ahmed F. Shaikh                      Dien Bui MD
4531 Oleander St.                    2905 Amherst St.                     2466 Beacon Circle
Bellaire TX 77401                    Houston TX 77005                     League City TX 77573


ER Physicians Associates, PLLC       Roy Marrero                          Catniaj PLLC
c/o Registered Agent Shannon Orsak   3709 Gertin Street                   c/o Registered Agent Nia Johnson
16062 Southwest Freeway #2           Houston TX 77004                     4438 South MacGregor Way
Sugar Land TX 77479                                                       Houston TX 77021

Pranav Shukla                        Spring Pasadena Investments LLC      Nia Johnson
1206 Doughty Place                   c/o Registered Agent Long Le         4438 South MacGregor Way
Sugar Land TX 77479                  3411 Summer Bay Dr                   Houston TX 77021
                                     Sugar Land TX 77478

Neighbors of the Permian Basin LLC   William Appiah                       Obidike R. Akahara MD PA
c/o Registered Agent Vik Wall        1906 Mystic Arbor Lane               7638 Westermoreland Dr
18 Sapphire St                       Houston TX 77077                     Sugar Land TX 77479
Odessa TX 79762

Abarado & Do Family LP               Applied Enhancements PLLC            Wisestaff LLC
c/o RA California Rough Do           c/o RA Manohar M. Alloju             c/o RA Incorp Services, Inc.
7606 Hampden Ct.                     14340 Torrey Chase Blvd, Suite 110   815 Brazos, Suite 500
Sugar Land TX 77479                  Houston TX 77014                     Austin TX 78701

Emtex Investments, LLC               Fillory Holdings, LLC                Teamus Investments LTD
c/o Judy Thomas                      c/o RA Lance Hill                    c/o RA Steven Downie
3001 Murworth Dr., Unit 1602         1013 Greenwood Lane                  705 Randolph Circle
Houston TX 77025                     Lewisville TX 75067                  Beaumont TX 77706

Kenneth Direkly                      Thanh Cheng                          Hazel Cebrun
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Friendswood TX 77546                 Missouri City TX 77459               Houston TX 77004


Emergence Holdings, LLC              Andrew O Okafor, MD PA               LBN Medical Care, PLLC
c/o RA Richard Joe Ybarra            12210 Ashley Circle Dr. West         c/o RA Lieu B Ngo
1902 Pease St, Suite A               Houston TX 77071                     12803 Brook Arbor Court
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EDR Investments LLC                  Roger Starner Jones, Jr.           Darul Sehat PA
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315 Hughes Rd                        Pearland TX 77584                  Houston TX 77019
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c/o RA Atiba Bell                    c/o RA Manuel E Rodriguez Acosta   c/o Olushola Bankole
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Katy TX 77450                        Houston TX 77007                   Beaumont TX 77713

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Spring TX 77389                      Houston TX 77021                   Seabrook TX 77486


Ekta Popat                           Addison HN VO Investments LLC      David C. Herrera MD
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                                                                        Dallas TX 75204

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                                                                        Dallas TX 75219

James M. Piccione MD PLLC            David Haacke                       Ucbamichael Holdings Management
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